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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------x

Heena Shim-Larkin
                                        Plaintiff,        Case No. 16 CV 6099 (AJN) (KNF)

                                                              NOTICE OF MOTION
                    -against-
                                                              FOR AN AWARD OF
City of New York                                                   EXPENSES
                                     Defendant.

--------------------------------------------------x



        PLEASE TAKE NOTICE that Plaintiff Heena Shim-Larkin moves the Court for an

award of expenses totaling $502.47 pursuant to the court order dated September 16, 2019 (ECF

#539, at 23-24).



        In support of this motion, Plaintiff submits her own declaration.




                                                                     Dated: September 30, 2019

                                                                               S/
                                                                     Heena Shim-Larkin
                                                                     Plaintiff Pro Se




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